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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION

ADAM KANUSZEWSKI and ASHLEY
KANUSZEWSKI as parent-guardians and         No. 18-cv-10472
next friend to their minor children,
D.W.L., R.F.K., and C.K.K.; SHANNON         HON. THOMAS L. LUDINGTON
LAPORTE,
as parent-guardian and next friend to her   MAG. JUDGE PATRICIA T.
minor children, M.T.L. and E.M.O.; and      MORRIS
LYNNETTE WIEGAND, as parent-
guardian and next friend to her minor
children, L.R.W., C.J.W., H.J.W., and
M.L.W.,                                     MOTION FOR § 1988
                                            PREVAILING PARTY
      Plaintiffs,                           ATTORNEYS’ FEES

v

MICHIGAN DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
NICK LYON, sued in his official and
individual capacities; DR. SANDIP
SHAH, sued in his official and individual
capacities; DR. SARAH LYON-CALLO,
sued in her official and individual
capacities; HARRY HAWKINS, sued in
his official and individual capacities;
MARY KLEYN, sued in her official and
individual capacities; MICHIGAN
NEONATAL BIOBANK, INC also
known as MICHIGAN NEONATAL
BIOREPOSITORY; DR. ANTONIO
YANCEY, sued in his official and
individual capacities,

      Defendants.
Case 1:18-cv-10472-TLL-PTM ECF No. 54 filed 09/05/18      PageID.851   Page 2 of 28




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     MOTION FOR § 1988 PREVAILING PARTY ATTORNEYS’ FEES

      The State Defendants file this motion in accordance with Fed. R. Civ. P.

54(d)(2) and Local Rule 54.1.2, seeking attorneys’ fees pursuant to 42 U.S.C. §
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1988 as a prevailing party in a § 1983 action. For the reasons stated in the attached

brief, the State Defendants request $30,000 in attorneys’ fees.

      In accordance with E.D. Mich. L.R. 7.1(a), counsel for the State Defendants

made reasonable efforts to contact counsel for Plaintiffs via telephone on

September 5, 2018 to explain the nature and legal basis of this motion; however,

Plaintiffs’ counsel could not be reached to conduct the conference and concurrence

was not obtained.

                                             Respectfully submitted,

                                             Bill Schuette
                                             Attorney General



                                             /s/ Aaron W. Levin
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Dated: September 5, 2018

                         CERTIFICATE OF SERVICE
I hereby certify that on September 5, 2018, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

                                             /s/ Aaron W. Levin
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Case 1:18-cv-10472-TLL-PTM ECF No. 54 filed 09/05/18   PageID.853   Page 4 of 28




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION

ADAM KANUSZEWSKI and ASHLEY
KANUSZEWSKI as parent-guardians and         No. 18-cv-10472
next friend to their minor children,
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LYNNETTE WIEGAND, as parent-
guardian and next friend to her minor
children, L.R.W., C.J.W., H.J.W., and
M.L.W.,                                     BRIEF IN SUPPORT OF
                                            MOTION FOR § 1988
      Plaintiffs,                           PREVAILING PARTY
                                            ATTORNEYS’ FEES
v

MICHIGAN DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
NICK LYON, sued in his official and
individual capacities; DR. SANDIP
SHAH, sued in his official and individual
capacities; DR. SARAH LYON-CALLO,
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NEONATAL BIOBANK, INC also
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   BRIEF IN SUPPORT OF MOTION FOR § 1988 PREVAILING PARTY
                      ATTORNEYS’ FEES
Case 1:18-cv-10472-TLL-PTM ECF No. 54 filed 09/05/18   PageID.856   Page 7 of 28




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             CONCISE STATEMENT OF ISSUES PRESENTED

      1.    The State Defendants are entitled to seek attorneys’ fees as a
            prevailing party in a § 1983 action. The State Defendants should be
            awarded a reasonable attorneys’ fee because Plaintiffs complaint was
            frivolous, unreasonable, and without foundation both at the time of
            filing and after Plaintiffs amended their complaint.

      2.    The State Defendants seek a reasonable attorneys’ fee based on the
            median market rate for similarly experienced attorneys doing similar
            work. To avoid litigating this issue, and because counsel does not bill
            hourly, the State Defendants base their request for fees on a
            reasonable underestimate of the hours spent defending this lawsuit.




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         CONTROLLING OR MOST APPROPRIATE AUTHORITY

    • 42 U.S.C. § 1988.
    • Hughes v. Rowe, 449 U.S. 5 (1980).
    • Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542 (2010).




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                                  INTRODUCTION
       Section 1988(b) provides that a trial court may award attorneys’ fees as part

 of the taxable costs to the prevailing party in a lawsuit brought under 42 U.S.C. §

 1983. To be entitled to attorneys’ fees under 42 U.S.C. § 1988, Defendants not

 only must be the prevailing party, but must also show that Plaintiffs’ lawsuit was

 frivolous, unreasonable, or without foundation.

       Here, Plaintiffs knew or should have known that their lawsuit was frivolous,

 unreasonable, or without foundation from the outset, but particularly after the State

 Defendants filed their first motion to dismiss showing that several Plaintiffs

 expressly consented to the use of their children’s dried blood spots in research, yet

 they continued to pursue this action. This Court correctly granted the State

 Defendants’ motion to dismiss the First Amended Complaint, and now, as a

 prevailing party in a § 1983 action, the State Defendants seek attorneys’ fees

 pursuant to 42 U.S.C. § 1988.

       The State Defendants’ attorneys spent considerable time defending this

 lawsuit and seek a reasonable fee based on the median market rate for similarly

 experienced attorneys in the area and, to avoid needing to litigate this issue, a

 significantly underestimated number of hours spent working on this case. The

 circumstances of this case support awarding the State Defendants $30,000 in

 attorneys’ fees.



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                             STATEMENT OF FACTS
       On February 8, 2018, Plaintiffs filed their complaint in this lawsuit. (R. 1,

 Compl., Pg. ID# 1.) This complaint was deficient, and Plaintiffs filed what they

 titled as a “corrected complaint” on February 17, 2018. (R. 3, Corrected Compl.,

 Pg. ID# 42.) The State Defendants—Mary Kleyn, Sarah Lyon-Callo, Nick Lyon,

 Sandip Shah, and the Michigan Department of Health and Human Services—

 waived service on March 9, 2018. (R.6, Waivers of Service, Pg. ID# 100.)

       On April 9, 2018, the State Defendants filed a motion for leave to file excess

 pages. (R. 9, Ex Parte Motion for leave to file excess pages, Pg. ID# 109.)

 Plaintiffs filed a response the same day. (R. 10, Response to State Defendants’ Ex

 Parte motion for page length extension, Pg. ID# 112.) On April 17, 2018, the State

 Defendants filed a motion to dismiss. (R. 21, State Defendants’ Motion to Dismiss,

 Pg. ID# 171.) This motion argued, among other things, that Plaintiffs’ corrected

 complaint should be dismissed for failure to state a claim under Rule 12(b)(6), lack

 of standing, and governmental immunity.

       Plaintiffs filed a motion to strike on April 18, 2018, taking issue with the

 attachments to the State Defendants’ brief despite the inclusion of the authority

 under which the attachments are allowable. (R. 23, Motion to Strike Motion to

 Dismiss, Pg. ID# 270.) Before the State Defendants could file a response to this

 motion, the Court issued an order denying the motion to strike because it was not



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 supported by the Federal Rules of Civil Procedure. (R. 25, Order Denying Motion

 to Strike and Granting Motion for an Extension, Pg. ID# 298.)

         Rather than respond to the State Defendants’ Motion, Plaintiffs filed a First

 Amended Complaint on April 30, 2018. (R. 26, First Amended Complaint, Pg. ID#

 300.) This complaint did not correct any of the issues raised in the State

 Defendants’ Motion to Dismiss. Rather, it simply added more unfounded claims

 without providing any factual basis supporting them. Nevertheless, nearly three

 months, and more than 300 pages of record, after their initial filing, Plaintiffs

 essentially restarted this case.

         Because the First Amended Complaint mooted the State Defendants’ initial

 Motion to Dismiss, the State Defendants’ were required to file another Motion to

 Dismiss addressing the First Amended Complaint on May 29, 2018. (R. 32, State

 Defendants’ Motion to Dismiss First Amended Complaint, Pg. ID# 477.) The State

 Defendants reiterated that Plaintiffs had still failed to state a claim, failed to

 establish jurisdiction in this Court, and failed to plead in avoidance of

 governmental immunity. Plaintiffs responded to this motion on July 6, 2018. (R.

 45, Plaintiffs’ Response to Certain State Defendants’ Motion to Dismiss, Pg. ID#

 696.) The State Defendants filed a Reply on August 1, 2018. (R. 49, Reply to

 Response to Motion to Dismiss Plaintiffs’ First Amended Complaint, Pg. ID#

 815.)


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       On August 7, 2018, this Court issued a text-only notice cancelling the oral

 arguments previously scheduled for August 21, 2018. Then, on August 8, 2018,

 this Court issued its Order Granting Motions to Dismiss and Dismissing Complaint

 with Prejudice. (R. 50, Order Granting Motions to Dismiss and Dismissing

 Complaint with Prejudice (08/08/18 Order), Pg. ID# 825.) Judgment was issued

 the same day (R. 51, Judgment, Pg. ID# 848.) Later that same day, Plaintiffs filed a

 notice of appeal. (R. 52, Notice of Appeal, Pg. ID# 848.)

       The State Defendants now file this motion in accordance with Fed. R. Civ.

 P. 54(d)(2) and Local Rule 54.1.2, seeking attorneys’ fees pursuant to 42 U.S.C. §

 1988 as a prevailing party in a § 1983 action.1


                                     ARGUMENT
       Although a notice of appeal has already been filed in this case, the State

 Defendants’ statutory right to seek attorneys’ fees may not be lost in a race to the

 courthouse; the Court may properly consider a motion for attorneys’ fees. “The

 timely filing of a notice of appeal divests a district court of jurisdiction over a case,

 except as to matters collateral to the main cause of action.” Reed v. Country Miss,

 Inc., 57 F.3d 1070 (6th Cir. 1995) (citing Griggs v. Provident Consumer Discount


 1 The State Defendants also reserve their rights to file for sanctions pursuant to
 Rule 11 and 28 U.S.C. § 1927. The State Defendants also wish to preserve their
 rights to request attorney fees and sanctions upon conclusion of the appeal in this
 matter.

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 Co., 459 U.S. 56, 58 (1982)). A request for costs under § 1988 is “wholly collateral

 to the judgment.” Buchanan v. Stanships, Inc., 485 U.S. 265, 268 (1988) (citing

 White v. New Hampshire Dept. of Employment Sec., 455 U.S. 445, 451 (1982)).

       Further, the Local Rules allow for the filing of a motion for attorneys’ fees

 within 28 days after the entry of a judgment. E.D. Mich. R. 54.1.2; Raub v. Moon

 Lake Prop. Owners' Ass'n, 718 F. App'x 407, 409 (6th Cir. 2018); Stallworth v.

 Greater Cleveland Reg'l Transit Auth., 105 F.3d 252, 257 (6th Cir. 1997).


 I.    The prevailing party in a § 1983 action is entitled to seek attorneys’ fees.

       “In any action or proceeding to enforce a provision of sections . . . 1983 . . .

 the court, in its discretion, may allow the prevailing party, other than the United

 States, a reasonable attorneys’ fee as part of the costs . . . .” 42 U.S.C. § 1988.

 “[A]n award under section 1988 may only be charged against the losing party, not

 the party's attorney.” Smith v. Detroit Fed'n of Teachers Local 231, Am. Fed'n of

 Teachers, AFL-CIO, 829 F.2d 1370, 1374 n. 1 (6th Cir. 1987) (citing Roadway

 Express, Inc. v. Piper, 447 U.S. 752, 761 & n. 9 (1980)); Brown v. Borough of

 Chambersburg, 903 F.2d 274, 276-77 (3rd Cir. 1990).

       For a defendant to recover attorneys’ fees under § 1988 from a plaintiff, the

 court must find that the “action was frivolous, unreasonable, or without foundation,

 even though not brought in subjective bad faith.” Hughes v. Rowe, 449 U.S. 5, 14




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 (1980) (citing Christiansburg Garment Co. v. Equal Employment Opportunity

 Comm'n, 434 U.S. 412, 422 (1978)).

      To determine whether a suit is frivolous, we consider “whether the
      issue is one of first impression requiring judicial resolution, whether
      the controversy is sufficiently based upon a real threat of injury to the
      plaintiff, whether the trial court has made a finding that the suit was
      frivolous under the Christiansburg guidelines, and whether the record
      would support such a finding.”
 Garner v. Cuyahoga Cty. Juvenile Court, 554 F.3d 624, 636 (6th Cir. 2009) (citing

 Tarter v. Raybuck, 742 F.2d 977, 986 (6th Cir. 1984)) (emphasis added). A claim

 may be unreasonable where no reasonable person could think that he would

 succeed on the claim. See Dabbs v. Bolin, 21 F.3d 427 (6th Cir. 1994). A claim is

 without foundation where it is meritless or groundless. Hughes, 449 U.S. at 14.

       In a suit “involving both frivolous and non-frivolous claims, a defendant

 may recover the reasonable attorneys’ fees he expended solely because of the

 frivolous allegations.” Fox v. Vice, 563 U.S. 826, 840-41 (2011). “A plaintiff

 should not be assessed his opponent's attorney fees unless the court finds the claim

 was groundless at the outset or ‘that the plaintiff continued to litigate after it

 clearly became so.’” Smith v. Smythe-Cramer Co., 754 F.2d 180, 183 (6th Cir.

 1985) (quoting Christiansburg, 434 U.S. at 422) (emphasis added)).




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       A.     Plaintiffs’ lawsuit was frivolous at the outset, and they should
              have known it was frivolous no later than at the time they filed
              their First Amended Complaint.

       Plaintiffs’ initial complaint had numerous deficiencies. Despite the State

 Defendants’ filing of a Motion to Dismiss, Plaintiffs continued to pursue this

 litigation and filed a First Amended Complaint that did not cure any of the noted

 defects. The State Defendants were then required to spend additional hours crafting

 another Motion to Dismiss seeking dismissal of this frivolous lawsuit.

       The most glaring defect in this case was that “Plaintiffs have not pled facts

 demonstrating that their blood samples were used contrary to their express

 wishes.” (R. 50, 08/08/18 Order, p. 12) The Amended Complaint concedes that

 “the parents ‘might have been presented with a card giving the Parents an option of

 whether they want their Infants’ already illegally seized and tested blood to be

 donated to medical research.’” (Id. at 12-13, quoting First Amended Complaint, ¶

 46.) In fact, the State Defendants attached these forms to its motion to dismiss,

 and, “[a]t a minimum, these exhibits, in conjunction with Plaintiffs’ own

 allegations and exhibits, establish that Plaintiffs were provided consent forms

 allowing them to opt into or opt out of their infant’s blood sample being used for

 research.” (Id. at 13 (emphasis added).) Said another way, Plaintiffs were on notice

 of these defects long before they filed their initial complaint of what the program




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 entailed, and several Plaintiffs expressly consented to it. All had a remedy

 available to them before filing this lawsuit and none took advantage of it.

       These exhibits also provide another noteworthy example of why this case

 warrants payment of attorneys’ fees. Plaintiffs imply “that the consent form was

 deficient, but [do] not explain why.” 2 (Id. at 14.) And Plaintiffs “made no effort to

 explain how the retention and use of the blood samples constitutes an independent

 violation” of the Fourteenth Amendment. (Id.) This is because such an argument is

 frivolous, unreasonable, or without foundation. Rather than clarify or withdraw this

 argument, Plaintiffs submitted an incomplete argument in the hope that the Court

 would develop the argument on their behalf.

       Substantively, Plaintiffs described Cruzan as the “foremost authority” for

 this case. (R. 45, Response to State Defendants’ Motion to Dismiss First Amended

 Complaint, p. 23, Pg. ID# 723.) However, in its 08/08/18 Order, the Court made

 clear that “[t]here does not appear to be any legal authority supporting the notion

 that children have a constitutionally protected liberty interest in their parent or

 guardian making medical decisions on their behalf,” specifically noting that it is

 “self-evident” that “Cruzan is inapplicable to this case” because children are not

 competent to make their own medical decisions. (R. 50, 08/08/18 Order, p. 6.) The

 State Defendants made this argument in both their initial Motion to Dismiss and
 2 The State Defendants suggest that Plaintiffs’ use of “ask” and “force”
 synonymously was not in error, but rather another unfounded factual assertion.

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 their Motion to Dismiss the First Amended Complaint. (E.g., R. 21, State

 Defendants’ Motion to Dismiss, pp. 26-27, Pg. ID# 214-15; R. 32, Motion to

 Dismiss First Amended Complaint, p. 22, Pg. ID# 215). Reliance on Cruzan for

 Plaintiffs’ position was frivolous, unreasonable, and without foundation.

       The Court went on to note that “none of the authority provided by Plaintiffs

 in their response brief supports the proposition that the right of a parent to make

 decisions concerning the care, custody, and control of their children includes the

 right to refuse potentially life-saving testing or treatment on the infant’s behalf.”

 (R. 50, 08/08/18 Order, p. 10.) Said another way, Plaintiffs’ position is unfounded.

 Lacking any authority for this proposition, Plaintiffs should have known that this

 crucial portion of their argument was not reasonable. Rather, Plaintiffs cited “cases

 supporting broad principles of constitutional law” that do “not help resolve the

 present inquiry, namely whether the facts as pled in this case demonstrate action by

 the State that violates Plaintiffs’ substantive due process rights.” (Id.) This is

 because there is no such action by the State, which Plaintiffs should have known at

 filing, or at least when put on notice of these defects by State Defendants’ April 17

 motion to dismiss. (R. 21).

       As it relates to retention and use of blood samples, the Court observed that

 Plaintiffs “devote[d] minimal effort toward explaining or supporting the notion that

 the retention and use [of dried blood spots] violates their substantive due process


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 rights.” (Id. at 12.) Further, “[t]o the extent the amended complaint may be read to

 allege some vague privacy interest that is implicated by the retention and use of the

 blood, that theory is certainly not developed in the complaint or briefed in

 Plaintiffs’ response.” (Id.) Again, this is because the position is unfounded.

       The Court also, briefly, discussed standing and noted the requirement that

 Plaintiffs “demonstrate that they (and not some third party) suffered an injury in

 fact.” (Id. at 21). Plaintiffs concerns are based entirely on vague fears of what

 might happen to non-parties. (Id.) The Court found these concerns “entirely

 hypothetical.” (Id.) The State Defendants raised this argument repeatedly in their

 initial Motion to Dismiss, and Plaintiffs did not cure this deficiency when they

 amended their complaint. Thus, Plaintiffs’ lawsuit was frivolous at the time of

 filing and Plaintiffs continued to litigate the same frivolous arguments after

 Plaintiffs were put on notice of these defects and amended their complaint.

       In addition to these bases on which the Court dismissed the case, there

 remain other reasons this case was frivolous warranting attorneys’ fees. Some of

 these reasons have been conceded by Plaintiffs in their briefs. For example,

 Plaintiffs conceded that:

           • They named “control-level officials” they believe “have been part” of

              the newborn screening program, (R. 45, Response to State

              Defendants’ Motion to Dismiss First Amended Complaint, p. 13, Pg.


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               ID# 713), even though vicarious liability is not available under §

               1983.

            • The Michigan Department of Health and Human Services is protected

               by sovereign immunity and should be dismissed as a party. (Id. at 18).

            • “Frankly, Plaintiffs do not know what each defendant ‘specifically’

               did but discovery will bear that out.” (Id. at 21.) This case was, from

               the start, a fishing expedition.

       These concessions and defects make clear that Plaintiffs should have known

 that this lawsuit was frivolous, unreasonable, or without foundation at filing. Even

 if they did not, Plaintiffs were aware of these defects prior to filing their First

 Amended Complaint and did not correct these problems, instead choosing to

 continue litigating a frivolous case. Thus, the State Defendants are entitled to

 attorney fees pursuant to § 1988.


       B.      The State Defendants seek a reasonable attorneys’ fee.
       Attorneys’ fees are generally calculated using the lodestar method. Perdue v.

 Kenny A. ex rel. Winn, 559 U.S. 542, 551 (2010). The lodestar method “looks to

 prevailing market rates in the relevant community” and “produces an award that

 roughly approximates the fee that the prevailing attorney would have received if he

 or she had been representing a paying client who was billed by the hour in a

 comparable case.” Id.; See also Johnson v. City of Clarksville, 256 F. App'x 782,

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 784 (6th Cir. 2007) (using market rates instead of hourly salary). “[D]istrict courts

 are not required to act as ‘green-eyeshade accountants’ and ‘achieve auditing

 perfection’ but instead must simply to [sic] do ‘rough justice.’ This means that the

 court can rely on estimates based on its ‘overall sense of a suit.’” The Ne. Ohio

 Coal. for the Homeless v. Husted, 831 F.3d 686, 703 (6th Cir. 2016) (quoting Fox,

 563 U.S. at 838). In determining fees, a district court has broad discretion to

 determine what constitutes a reasonable hourly rate for an attorney. Fuhr v. School

 District of the City of Hazel Park, 364 F.3d 753, 762 (6th Cir. 2004).

       Three attorneys appeared in this case for the State Defendants—Christopher

 L. Kerr, Thomas S. Marks, and Aaron W. Levin. Mr. Kerr has been an attorney for

 21 years. (Affidavit of Christopher L. Kerr (Exhibit A).) Dr. Marks has been an

 attorney for 12 years and is also an MD and MBA. (Affidavit of Thomas S. Marks

 (Exhibit B).) Mr. Levin has been an attorney for approximately two years.

 (Affidavit of Aaron W. Levin (Exhibit C).) In 2017, the median billing rate in

 Michigan for an attorney with 16-25 years was $253 per hour, while for an

 attorney with 11-15 years it was $250 per hour, and for an attorney with 1-2 years

 of practice was $200. (2017 Economics of Law Practice, Attorney Income and

 Billing Rate Summary Report, State Bar of Michigan, p. 4 (Exhibit D).) The

 median billing rate for offices in the Lansing area was $227 per hour. Id. at 5. The

 median rate for a civil litigation practice was $250 per hour, while for a civil rights


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 practice it was $288 per hour. Id. It is also important to note that while counsel was

 not billing a client by the hour, a great deal of taxpayer resources were expended

 defending this lawsuit. Based on counsel’s experience and ability, the State

 Defendants believe a market rate of $300 per hour for Mr. Kerr and Dr. Marks and

 $200 per hour for Mr. Levin is entirely reasonable in calculating attorneys’ fees in

 this case.

       The record demonstrates how much effort went in to this case. As it stands

 now, without including this motion, there are almost 850 pages in the record for a

 case that only reached motions to dismiss. Counsel filed several extensive briefs, in

 addition to reviewing the lengthy pleadings by Plaintiffs and the pleadings of the

 other defendants. These briefs are the result of a great deal of time spent

 researching the law and the facts.

       The challenge in this context is that counsel does not bill hourly. To the best

 of their recollections, counsel believes that collectively over 200 hours were spent

 working on this case. Mr. Kerr worked approximately 100 hours on this case

 (Exhibit A); Dr. Marks worked approximately 60 hours (Exhibit B); and Mr. Levin

 worked approximately 80 hours (Exhibit C). However, in order to avoid having to

 litigate this issue, counsel seeks payment for less than half of the hours worked.

 While a reduction may be appropriate where attorneys have to reconstruct their

 hours from memory, see Hensley, 461 U.S. at 428-29, counsel believes its request


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 more than accounts for such a reduction. Thus, while counsel believes attorneys’

 fees totaling at least $64,000 may be warranted, only $30,000 is sought; reflecting

 a market rate of $300 per hour for Mr. Kerr and Dr. Marks and $200 per hour for

 Mr. Levin for a reduced number of hours.




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                  CONCLUSION AND RELIEF REQUESTED
       For the reasons stated above, the State Defendants seek $30,000 in

 attorneys’ fees under § 1988 as a prevailing party in a § 1983 action.

                                               Respectfully submitted,

                                               Bill Schuette
                                               Attorney General



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                          CERTIFICATE OF SERVICE
 I hereby certify that on September 5, 2018, I electronically filed the above

 document(s) with the Clerk of the Court using the ECF System, which will provide

 electronic copies to counsel of record.

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